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IN THE UNITED sTATEs DISTRICT comm ‘C'S`L‘H” %K' D.C.
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UNITED STATES OF AMERICA,

 

Plaintiff,
vs. No. 04-20232-MaV

ALFREDO SHAW,

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Defendant.

 

ORDER ALLOWING RETAINED COUNSEL TO WITHDRAW AND APPOINTING CJA
COUNSEL ON APPEAL

 

Before the court is the motion of the defendant Alfredo Shaw
to be declared indigent for purposes of appeal. The motion was
referred to the United States Magistrate Judge for determination.
The court interprets the motion as a request to have counsel
appointed.under the Criminal Justice Act, 18 U.S.C. §3006A, (“CJA”)
for purposes of appeal.

In support of his motion, the defendant submitted on August 1,
2005, a financial affidavit of indigency signed under penalty of
perjury. It appears to the court from the financial affidavit that
defendant lacks sufficient financial resources to employ counsel to
pursue an appeal and that he does not wish to waive counsel on
appeal. Thus, the above-named defendant is qualified for

appointment of counsel under 18 ULS.C. § 3006A(b).

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IT IS THEREFORE ORDERED that CJA counsel be and hereby is
appointed to represent the defendant on appeal unless relieved by

order of this court or by order of the court of appeals.

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DI K. VESCOVO

UNITED STATES GISTRATE JUDGE
DATE:W 22, 2005'

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 48 in
case 2:04-CR-20232 Was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

